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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 SUNIL BHATIA, derivatively on behalf of
 MEDVALUE OFFSHORE SOLUTIONS,
 INC.,                                                 Case No. 1:18-cv-02387

                         Plaintiff,                    Honorable Judge Dow

 v.                                                    Honorable
                                                       Magistrate Judge Jantz
 RAJU VASWANI, an individual,
 KARAN VASWANI, an individual,
 ASSIVO, INC. (f/k/a MV OUTSOURCING,                   JURY TRIAL DEMANDED
 INC.), an Illinois Corporation,

                         Defendants,

 and

 MEDVALUE OFFSHORE SOLUTIONS,
 INC.,

                         Nominal Defendant

                    PLAINTIFF’S MOTION FOR EXTENSION OF TIME
                           TO ISSUE CERTAIN DISCOVERY

         Sunil Bhatia (herein “Plaintiff”), by his attorneys, Regas, Frezados & Dallas LLP, for his

Motion for Extension of Time to Issue Certain Discovery, states as follows:

         1.     Plaintiff requests that this Court extend the time for Plaintiff to issue subpoenas to

clients of MedValue Offshore Solutions, Inc. until 28 days after all Defendants have responded to

the written discovery issued by Plaintiff.

         2.     Federal Rule of Civil Procedure 6(b)(1) states that when an act may or must be done

within a specified time, the court may, for good cause, extend the time: . . . with or without motion

or notice if the court acts, or if a request is made, before the original time or its extension expires

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       3.      By this Court’s order and agreement of the parties, the deadline to issue written

discovery and third-party subpoenas is December 14, 2020.

       4.      Plaintiff has issued written discovery to Defendants in this action which requests

information relating to clients of MedValue. Plaintiff believes that this information or information

similar thereto is also in the possession of clients of MedValue.

       5.      In order to avoid involving MedValue’s clients in this litigation, Plaintiff wishes to

attempt to obtain the information relating to clients of MedValue directly from the parties.

However, in the event that Plaintiff is unable to do so, Plaintiff requests leave to issue third-party

subpoenas to clients of MedValue.

       WHEREFORE, Plaintiff requests that this Court extend the time for Plaintiff to issue third-

party subpoenas to clients of MedValue until 28 days after Defendants have responded to the

written discovery issued by Plaintiff.

                                                              Regas, Frezados & Dallas LLP


                                                              By:_/s/ Steven M. Dallas        __
                                                                 Attorneys for Plaintiff
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                                         CERTIFICATE OF SERVICE

        The undersigned that on December 14, 2020, I caused to be filed with the Clerk of the
United States District Court for the Northern District of Illinois Plaintiff’s Motion for Extension
of Time to Issue Certain Discovery using the Court’s ECF system, which automatically results in
the transmission, by e-mail to all parties in this action who have registered use the ECF in the
Northern District of Illinois, of a notice of electronic filing that constitutes service, pursuant to the
general order issued by this Court and the Federal Rules of Civil Procedure.

[]       Under penalty of perjury, I certify
          that the statements set forth
          forth herein are true and correct.    _/s/ Steven M. Dallas____________________________
                                                Signature




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